AO 245C-CAED (Rev. 06/05) Sheet 1 - Amended Judgment in a Criminal Case                                 (NOTE: Identify Changes with Asterisks*)

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                                           United States District Court
                                                    Eastern District of California
               UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                          v.                                                   (For Offenses Committed On or After November 1, 1987)
                   SON VAN NGUYEN                                              Case Number: 2:99CR00433-06


Date of Original Judgment:               4/14/2004                             Krista Hart, Appointed
(Or Date of Last Amended Judgment)                                             Defendant’s Attorney

Reason for Amendment:
[U] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                 [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                          [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                    Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))       [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                 Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[ ] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                 [ ] 18 U.S.C. §3559(c)(7), [ ] Modification of Restitution Order
THE DEFENDANT:
[]          pleaded guilty to count(s): .
[]          pleaded nolo contendere to counts(s)       which was accepted by the court.
[U]         was found guilty on count(s) 1, 2, and 3 of the Indictment after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                 Date Offense                                            Count
Title & Section             Nature of Offense                                    Concluded                                              Number(s)
18 U.S.C. 1951(a)           Conspiracy to Commit a Robbery Affecting             1/25/1996                                              1
                            Interstate Commerce
18 U.S.C. 924(c)(1)                         Use of a Firearm During a Crime of Violence                 1/25/1996                       2
18 U.S.C. 924(i)(1) and 2                   Death Caused by Use of a Firearm During a                   1/25/1996                       3
                                            Crime of Violence, Aiding and Abetting


        The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)         and is discharged as to such count(s).
[]          Count(s)      (is)(are) dismissed on the motion of the United States.
[]          Indictment is to be dismissed by District Court on motion of the United States.
[U]         Appeal rights given.                       []       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                         11/19/2007
                                                                         Date of Imposition of Judgment



                                                                         Signature of Judicial Officer


                                                                         WILLIAM B. SHUBB, United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                         December 5, 2007
                                                                         Date
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AO 245C-CAED (Rev. 06/05) Amended Judgment in a Criminal Case - Sheet 2 - Imprisonment
CASE NUMBER:               2:99CR00433-06                                                                Judgment - Page 2 of 4
DEFENDANT:                 SON VAN NGUYEN

                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 240 months as to Count 1, Life as to Count 3, to be served concurrently with each other; and 60 months as to
Count 2, to be served consecutively to Counts 1 and 3, for a total term of Life plus 60 months.



[U]      The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the
         defendant be returned to the Bureau of Prisons facility at Atwater, where he was previously housed.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
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AO 245C-CAED (Rev.06/05) Amended Judgment in a Criminal Case - Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:99CR00433-06                                                                              Judgment - Page 3 of 4
DEFENDANT:                    SON VAN NGUYEN

                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                            Fine                   Restitution
       Totals:                                          $ 300                               $                 $ To be Determined


[]     The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                  Restitution Ordered Priority or Percentage


       TOTALS:                                            $                                $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
       on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                  [ ] fine             [ ] restitution

       [ ] The interest requirement for the                   [ ] fine [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245C-CAED (Rev. 06/05) - Amended Judgment in a Criminal Case - Sheet 6 - Schedule of Payments
CASE NUMBER:                  2:99CR00433-06                                                                                     Judgment - Page 4 of 4
DEFENDANT:                    SON VAN NGUYEN
                                                  SCHEDULE OF PAYMENTS


      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $              due immediately, balance due

            []      not later than  , or
            []      in accordance with            [ ] C,    [ ] D,    [ ] E, or            [ ] F below; or

B     [U]           Payment to begin immediately (may be combined with                     [ ] C,   [ ] D, or [ ] F below); or

C     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of                     (e.g., months or
          years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
          years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
          that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]    Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[]    The defendant shall forfeit the defendant’s interest in the following property to the United States:
